





THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS 

PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				The State, Respondent,
				v.
				Carlos Morales Hernandez, Appellant.
			
		
	


Appeal From Jasper County
Perry M. Buckner, Circuit Court Judge
Unpublished Opinion No. 2007-UP-306
Submitted June 1, 2007  Filed June 11, 2007
APPEAL DISMISSED


	
		
			
				Appellate Defender Aileen P. Clare, of Columbia, for Appellant. 
				
				Attorney General Henry Dargan McMaster, Chief Deputy Attorney General John W. McIntosh, and Assistant Deputy Attorney General Salley W. Elliott, all of Columbia; and Solicitor I.&nbsp;McDuffie Stone, III, of Beaufort, for Respondent.
			
		
	

PER CURIAM:&nbsp; Carlos Morales Hernandez appeals his guilty plea to possession of cocaine with intent to distribute.&nbsp; Counsel for Hernandez attached to the final brief a petition to be relieved as counsel.&nbsp; Hernandez did not file a separate pro se response.
After a review of the record as required by Anders v. California, 386 U.S. 738 (1967), and State v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991), we hold there are no directly appealable issues that are arguable on their merits.&nbsp; Accordingly, we dismiss the appeal and grant counsels petition to be relieved.[1]
APPEAL DISMISSED.
STILWELL, SHORT, and WILLIAMS, JJ., concur.&nbsp; 


[1]&nbsp; We decide this case without oral argument pursuant to Rule 215, SCACR.

